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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                      )
                                               )
                Plaintiff,                     )        CRIMINAL NO. 17-2558-MV
                                               )
       vs.                                     )
                                               )
ARTHUR PERRAULT,                               )
                                               )
                Defendant.                     )

                       UNITED STATES’ RESPONSE TO DEFENDANT’S
                             APPEAL OF DETENTION ORDER

       On September 28, 2018, the defendant, Arthur Perrault (hereinafter, “Defendant”), filed a

motion, Doc. 20, seeking this Court’s review of a detention order, Doc. 18, issued by United

States Magistrate Judge Karen B. Molzen (hereinafter, the “Magistrate Judge”) on September 25,

2018, remanding Defendant to the custody of the United States Marshals Service pending trial.

The United States responds as follows:

       I.       Relevant Facts and Procedural History

       On September 21, 2017, a federal grand jury in the District of New Mexico returned an

indictment, Doc. 2, charging Defendant with six counts of aggravated sexual abuse, in violation

of 18 U.S.C. § 2241(c), and one count of abusive sexual contact, in violation of 18 U.S.C. §

2244(a)(5). All of these offenses are crimes of violence. 1




1
 18 U.S.C. § 3156(a)(4) expressly states that any offense in violation of Chapter 109A of Title 18
of the United States Code is a crime of violence. All of the offenses charged in the indictment
allege violations of sections of Chapter 109A.
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       On September 21, 2018, Defendant made his initial appearance in United States District

Court. This occurred after Defendant, a former Catholic priest, was expelled from the Kingdom

of Morocco at the request of the United States and agents from the Federal Bureau of

Investigation transported Defendant back to the New Mexico to face the charges in this case.

       On the same date, the United States filed a written motion, Doc. 10, asking the Magistrate

Judge to detain Defendant pending trial, pursuant to 18 U.S.C. § 3142, based on his risk of non-

appearance and dangerousness to the community. The prosecution’s motion emphasized that

Defendant was subject to a presumption of detention, pursuant to 18 U.S.C. § 3142(e)(3)(E),

given the nature of the offenses charged.

       On September 25, 2018, the Magistrate Judge conducted a detention hearing. Doc. 21,

pp. 1-29. The United States relied on its written motion in support of detention, but also

provided some additional information and oral argument. Id. at 3-15, 21-24. This included new

information about Defendant’s post-arrest statements to FBI agents while in transit from

Morocco to New Mexico. Id. at 7. In particular, prosecutors advised the Magistrate Judge that

Defendant admitted sexually assaulting children generally, including engaging in oral sex with

them, but denied committing such crimes on Kirtland Air Force Base, where federal jurisdiction

applies. Id.

       On the issue of risk of non-appearance, the United States informed the Magistrate Judge

that Defendant fled from New Mexico to Canada in 1992 upon learning that allegations of his

sexual abuse were about to become public. Id. at 3-4. The prosecution told the Magistrate Judge

that Defendant soon relocated to Morocco, a country that does not have an extradition treaty with

the United States. Id. at 3-4. 2 The United States also advised the Magistrate Judge that


2
  Morocco “expelled” Defendant from the kingdom after the United States submitted formal papers
to the Moroccan government that were similar to a formal extradition request.
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Defendant wrote a letter to a New Mexico District Court Judge in 2016 acknowledging that he

was aware of a lawsuit against him and stating that he had lived in Morocco for 23 years. Id. at

6. The prosecution noted that Defendant did not return to the United States voluntarily to contest

this lawsuit, however. Id. The United States also informed the Magistrate that Defendant told

FBI agents that he only had one friend remaining in New Mexico and that he had asked another

friend in Morocco to take care of his apartment in Tangier during his absence, suggesting

Defendant harbors a belief that he will be leaving the United States once again to return to

Morocco. Id. at 6-7.

         The United States also highlighted a previous opinion 3 from a fellow United States

District Judge recognizing that New Mexico’s proximity to the Mexican border decreases the

capability of law enforcement to react to a defendant’s flight even if the defendant is ordered to

wear a GPS tracking device while on pretrial release. Id. at 23. The prosecution also cited a

judicial opinion 4 noting that a defendant’s involuntary surrender of his or her passport does not

eviscerate his or her risk of flight. Id. at 22. The United States further stressed that Defendant’s

crimes involved extensive manipulation and deception and that Defendant should be expected to

use similar methods to escape from a non-secure facility because – given his age – even a modest

prison sentence in this case would amount to lifetime incarceration. Id. at 7-8.

         The United States also addressed Defendant’s dangerousness. Id. at 9. In particular, the

United States pointed out that under 18 U.S.C. § 3142(e)(3) and (g)(1), a court must give

significant weight to the fact that six of the seven charges carry a presumption of detention and




3United States v. Munoz-Hernandez, No. CR 12-0128 JB, 2012 U.S. Dist. LEXIS 161970, at
*31-32 (D.N.M. Nov. 5, 2012) (Browning, J.)
4
    United States v. Hills, No. CR 16-329, 2018 WL 3956865, at *2 (N.D. Ohio August 17, 2018).
                                                  3
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all of the offenses charged in the indictment are crimes of violence. Id. The prosecution also

informed the Magistrate Judge that the FBI had not conducted any investigation of Defendant’s

possible sexual abuse of additional victims since he arrived in Morocco in 1992, including while

Defendant worked at a language school in Tangiers. Id. at 10-11. Thus, the United States

explained that it was premature to conclude that Defendant did not abuse anyone in Morocco

after fleeing the United States. Id. at 11. The United States also noted that Defendant had a

habit of seeking employment where he would have access to children, such as choosing to teach

at St. Pius X High School after completing “treatment” at The Servants of the Paraclete in Jemez,

New Mexico following allegations that he abused children in New England in the 1960s. Id. at

10.

         The United States also submitted that Defendant would still be dangerous even if placed

in a halfway house because he could borrow a cell phone from another resident and use that

phone to contact children. Id. at 10. Further, the United States maintained that a detention

center could adequately meet Defendant’s medical needs and provide continuity of care. Id. at

12-13.

         The prosecution also directed the Magistrate Judge’s attention to United States v. Frater,

356 F. App’x 133 (10th Cir. 2009), where the Tenth Circuit upheld a district court’s detention

order in a case where the defendant fled the United States to avoid charges carrying a

presumption of detention. Id. at 13. The United States noted that the appellate court referenced

the defendant’s lack of community ties, international travel, and residence abroad as reasons for

affirming the district court’s decision. Id. at 13-14. The United States urged the Magistrate

Judge to consider Frater in deciding whether to detain Defendant under similar circumstances.

Id.



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       Defendant’s attorney also addressed the Magistrate Judge. Id. at 15-21. He relied in

substantial part on the recommendation of Pretrial Services that Defendant should reside in the

third-party custody of La Pasada Halfway House pending trial. Id. at 15. Defendant’s counsel

insisted any risk of non-appearance or dangerousness could be mitigated in that setting. Id. at

21.

       Defendant’s arguments for release also focused on his advanced age, healthcare needs,

and lack of friends, family, and financial resources. Id. at 18. Defendant’s attorney also

questioned the reliability of the allegations against Defendant because the victim did not report

his conduct at or near the time of occurrence. Id. at 20. Defendant’s attorney also mentioned an

unrelated case where the Magistrate Judge had previously released a defendant facing sexual

abuse charges to a halfway house. Id. at 15, 24-25. That case involved a defendant with ties to

family and community in the United States, and, critically, did not involve flight or extradition.

Id.

       At the conclusion of the hearing, the Magistrate Judge ordered Defendant to be detained

pending trial. Id. at 27. The Magistrate Judge found by a preponderance of the evidence that no

conditions of release could assure his appearance in court as required. Id. at 26. She also found

by clear and convincing evidence that he posed a danger to the community that could not be

mitigated by conditions of pretrial release. Id. The Magistrate Judge specifically noted that -

unlike Pretrial Services - she was permitted to consider the strength of the evidence and the

statutory presumption of detention. Id. at 4.

       In further support of her decision, the Magistrate Judge offered several specific reasons

why detention was appropriate, including the length of Defendant’s potential term of

imprisonment. Id. at 26. The Magistrate Judge expressed concern about the evidence proffered



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demonstrating that Defendant left the United States to avoid answering to the same type of

allegations as those contained in the pending indictment. The Magistrate Judge also referenced

Defendant’s lack of stable employment, residence, or community ties to New Mexico. Id. The

Magistrate Judge further noted that she was concerned about Defendant’s release because he

appeared to be a “very charming man” based on her observations of him in court. Id. 27.

       II.       Applicable Law

       A defendant charged with a criminal offense is entitled to a hearing before a magistrate

judge on the issue of his or her pre-trial detention. See 18 U.S.C. §§ 3142(f). At such a hearing,

the magistrate judge must consider “(1) the nature and circumstances of the offense charged[;] …

(2) the weight of the evidence against the person; (3) the history and characteristics of the

person, including … [the defendant’s] criminal history … and (4) the nature and seriousness of

the danger to any person or the community that would be posed by the person’s release.” 18

U.S.C. § 3142(g).

       To be sure, the United States bears the burden of proving risk of flight

by a preponderance of the evidence and proving dangerousness by clear-and-convincing

evidence. 18 U.S.C. § 3142(f); United States v. Cisneros, 328 F.3d 610, 616 (10th Cir.

2003). The ultimate “burden of persuasion … always remains with the [United States].” United

States v. Stricklin, 932 F.2d 1353, 1354 (10th Cir. 1991). However, there is a presumption of

detention in cases involving minor victims under 18 U.S.C. § 2241. See 18 U.S.C. §

3142(e)(3)(E). When this presumption applies, the burden of production shifts to the defendant.

Stricklin, 932 F.2d at 1354. 5



5
  This “burden of production is not heavy, but some evidence must be produced. Even if a
defendant’s burden of production is met, the presumption remains a factor for consideration by
the . . . court in determining whether to release or detain.” Id. at 1355.
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        At the completion of the detention hearing, the magistrate judge shall issue a detention

order, pursuant to 18 U.S.C. § 3142(i), when “the jud[ge] finds that no … conditions [of release]

will reasonably assure the appearance of the [defendant] as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(e)(1). However, the magistrate judge may release

the defendant from custody when there are conditions of release that can adequately mitigate the

defendant’s risk of flight and danger to the community. United States v. Bustamante-Conchas,

577 Fed. Appx. 803, 805 (10th Cir. 2014).

        When a magistrate judge elects to detain a defendant pending trial, the defendant has

“two avenues” to seek reconsideration of the magistrate’s detention order “prior to review on

appeal by a court of appeals.” Cisneros, 328 F.3d at 614. The defendant may ask for

reconsideration from “the same judicial officer who entered the initial order[,]” i.e., the

magistrate judge. Id. In the alternative, the defendant may file a “motion for revocation” of the

detention order with “a judge of a court having original jurisdiction over the offense[,]” i.e., the

district court. Id. at 615.

        When the defendant chooses the second option, the district court conducts a de novo

review of the magistrate’s detention order. Id. at 616 n. 1. In doing so, the district court may

rely on the record already established and/or hold its own hearing and consider new evidence

from the parties. Id. at 617.

        III.    Argument

        This Court should affirm the Magistrate Judge’s detention order without a need for

further evidence. The record clearly establishes that the Magistrate Judge considered all of the

required factors, including (1) the serious nature and circumstances of the sex crimes offenses

charged in the indictment, (2) the substantial weight of the evidence against Defendant, including



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his own admissions of child sexual abuse, (3) Defendant’s troubling history and characteristics,

including his previous flight from justice, and (4) the extremely serious danger he poses to the

community as a pedophile. See 18 U.S.C. § 3142(g).

       Based on these factors, the Magistrate Judge properly found by a preponderance of the

evidence that Defendant presents an extreme risk of non-appearance that makes him entirely

unsuitable for pre-trial release, even to a halfway house with GPS monitoring, as Pretrial

Services recommended. In analyzing Defendant’s risk of flight, the Magistrate Judge correctly

highlighted Defendant’s history of “actual evasion” upon learning that he had been accused of

child sexual abuse in 1992. Doc. 21 at 25. Because Defendant previously fled the United States

to avoid accountability for his sexual abuse of children, it is reasonable to expect him to flee

again, if given an opportunity. This makes Defendant’s case different from most others where

the court can only surmise about a defendant’s propensity to flee.

       To be sure, Defendant argued at the detention hearing that he is significantly older and in

poorer health than he was when he abruptly departed New Mexico more than twenty years ago.

However, Defendant was healthy enough to live independently at the time of his arrest by

Moroccan authorities approximately one year ago. This supports the Magistrate Judge’s finding

that Defendant remains a flight risk despite his age and physical condition.

       The Magistrate Judge also correctly found by clear and convincing evidence that

Defendant is a danger to the community even if he is restricted to a halfway house or subject to

other strict conditions of release. The Magistrate Judge specifically remarked that Defendant is a

“very charming man[,]” which she found troubling in light of his history of manipulating and

exploiting other people, especially children. Doc. 21 at 27. Indeed, the evidence shows that

Defendant gained the trust of many of his victims with gifts, meals and excursions to amusement



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parks. Doc. 10 at 4-5. Defendant also deceived their parents into allowing them to spend time

with him for purportedly religious purposes. Id. Given Defendant’s history of manipulating

others as part of his offenses, the Magistrate Judge correctly found him unfit for placement in a

halfway house or other non-custodial setting. Certainly, Defendant must be sufficiently isolated

from the outside world to prevent him from harming more children or fleeing from justice again.

       IV.     Conclusion

       Under these circumstances, this Court should affirm the Magistrate Judge’s order

remanding Defendant to the custody of the United States Marshals Service pending trial. The

Magistrate Judge considered all of the necessary factors under 18 U.S.C. § 3142(f). She also

made correct findings of fact and conclusions of law to support her decision on detention. The

United States submits that this Court should reach similar findings and conclusions based on a de

novo review of the record as the prosecution has met its burden of proving Defendant is a flight

risk by a preponderance of the evidence and a danger to the community by clear and convincing

evidence. Given the record before the Court, Defendant should not be released from custody

under any conditions, especially when a presumption in favor of detention applies.

       WHEREFORE, the United States requests that this Court affirm the Magistrate Judge’s

detention order.

                                                     Respectfully Submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney


                                                     _/s/____________________________
                                                     HOLLAND S. KASTRIN
                                                     SEAN J. SULLIVAN
                                                     Assistant United States Attorneys




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 4th day of October, 2018, I filed the foregoing pleading

electronically through the CM/ECF system, and served counsel of record with this pleading by

email.




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